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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

STACY VAN GORP,

            Plaintiff,                                No. 4-17-cv-189-CRW-CFB

 vs.                                           ORDER GRANTING SUMMARY JUDGMENT
                                                IN FAVOR OF DEFENDANT AND AGAINST
                                                           PLAINTIFF

COMMERCE BANK,

           Defendant.



               In a lawsuit brought “on behalf of herself and all others similarly situated,”

plaintiff Stacy Van Gorp (Van Gorp) seeks compensatory and punitive damages and injunctive

relief. She contends that defendant Commerce Bank (Bank) violated the Fair Credit Reporting

Act (FCRA), 15 U.S.C. section 1681 et seq., by publishing Van Gorp’s credit score in a filing the

Bank submitted as a claim in Van Gorp’s personal bankruptcy proceedings. The Court initially

did not grant the Bank’s motion to dismiss (Docket #9), considering that motion premature.

               On November 9, 2017, the Court held a hearing on the Bank’s subsequent

resisted motion for summary judgment (Docket # 22).. The Bank contends it is entitled to

summary judgment because 1) Van Gorp has suffered no concrete harm sufficient to establish

standing to proceed in this lawsuit and 2) the Bank had a permissible purpose in obtaining the

credit score and then used the score for a permissible purpose.

               The court concludes the Bank is entitled to summary judgment on both grounds.

               Summary judgment standard. A dispute as to a material fact is genuine if there is


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sufficient evidence for a reasonable jury to return a verdict for the nonmoving party. Anderson v.

Liberty Lobby. Inc., 477 U.S. 242, 248 (1986). The party seeking summary judgment bears the

initial burden of demonstrating the absence of a genuine issue of fact for trial. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). Once the moving party satisfies its initial burden, the

nonmoving party must go beyond the pleadings and, by its own affidavits or discovery, "set forth

specific facts showing that there is a genuine issue for trial." Fed. R. Civ. P. 56(e). Here, Van

Gorp has not identified facts or legal issues that if decided in her favor would support the entry of

judgment on any claim she asserts.

                           Undisputed facts from summary judgment record

                1. On May 9, 2016, Van Gorp filed for protection under Chapter 13 of the United

States Bankruptcy Code.

                2. In the petition filed in the bankruptcy action, Van Gorp disclosed details about

many aspects of her financial situation, including the last four digits of her social security

number, home address, kind of debts owed, number and names of creditors, value and summary

of assets and liabilities, place of employment, amount of time employed in current position,

monthly salary, expenses, where she banks, whether she received support from her family,

whether she had any losses (such as gambling losses), whether she had previous bankruptcies,

whether she rented or owned her home, whether she owned businesses, and whether she received

credit counseling.

                3. Bank filed a proof of claim in the bankruptcy action.      The proof of claim

included a billing statement for the period of April 9, 2016 to May 8, 2016.

                4. The third page of the billing statement included reference to Van Gorp’s actual


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FICO score.

                I. Lack of standing. The only harm Van Gorp alleges is a privacy right violation.

Examined at deposition, Van Gorp was unable to testify whether any person saw her published

credit score. She was unable to pinpoint any past or future loss of money, job opportunity, or

reputation she experienced or will experience by reason of the Bank including in its proof of

claim her FICO credit score. Van Gorp has not pleaded nor demonstrated in this record a

concrete harm that establishes a case or controversy over which this court has jurisdiction. See

Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1549 (2016)(no standing in an FCRA case where there is

a “bare procedural violation, divorced from any concrete harm”); Braitberg v. Charter Comm.,

Inc., 836 F.3d 925, 929 (8th Cir. 2016)(no concrete harm where cable company was alleged to

have retained information in violation of its duty to destroy personally identifiable information).

So the Bank is entitled to summary judgment dismissing Van Gorp’s lawsuit because she has no

standing to sue.

                II. Bank’s use of credit score. Neither has Van Gorp shown in this record that the

Bank violated the FCRA when it disclosed in its bankruptcy filing Van Gorp’s FICO credit score.

The Bank permissibly obtained the credit score as part of Van Gorp’s application for credit. No

provision of the FCRA prohibited the Bank from referring to the FICO score it had properly

obtained and then mentioned in filing its claim in her bankruptcy proceeding.

                Van Gorp cites no case where the use of a credit score in this way was found to

violate the FCRA. Persuasive is Geiling v. Wirt Fin. Servs, Inc., 2014 U.S. Dist. LEXIS 183237

(E.D. Mich. 2014.), where the court held that the FCRA does not impose liability on a person

who properly obtains a consumer report and then uses it in a court proceeding.


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               III. Conclusion. Plaintiff Stacy Van Gorp has not established standing to sue

Commerce Bank and has not demonstrated in this record a right to recover damages for violation

of the FCRA. For both reasons, the court grants the Bank’s motion for summary judgment

(Docket #22). The clerk of court shall dismiss this lawsuit, with costs assessed to Van Gorp.

               IT IS SO ORDERED.

               Dated this 13th day of November, 2017.




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